Case 2:24-cv-01129-RJC Document 24-7 Filed 12/02/24 Page1lof4

Exhibit G
Case 2:24-cv-01129-RJC Document 24-7 Filed 12/02/24 Page2of4

From: Scott, Jessica

To: Jeremy Abay; Shannon Liss-Riordan (sliss@lIrlaw.com)

Cc: Sarah Schalman-Bergen; Harold Lichten (hlichten@llrlaw.com); Matthew Carrieri; McHugh, Joe; Kennedy,
Shanicka; Whitt, Celyn; Schaller, David

Subject: RE: Questions re Abner, Brannon, and Alleyne cases

Date: Tuesday, October 8, 2024 7:43:16 AM

Attachments: image001.pnq

Counsel,

Following up on the below yet again. We’d appreciate a response on this.

Jessica

Jessica G. Scott (she/her/hers)
Partner, Diversity & Inclusion Co-Chair
Wheeler Trigg O'Donnell LLP

From: Scott, Jessica <scott@wtotrial.com>

Sent: Friday, September 20, 2024 3:08 PM

To: Jeremy Abay <jabay@Ilrlaw.com>; Shannon Liss-Riordan (sliss@Ilrlaw.com) <sliss@IIrlaw.com>
Cc: Sarah Schalman-Bergen <ssb@Ilrlaw.com>; Harold Lichten (hlichten@llrlaw.com)
<hlichten@llrlaw.com>; Matthew Carrieri <mcarrieri@IIrlaw.com>; McHugh, Joe
<joseph.mchugh@fedex.com>; Kennedy, Shanicka <shanicka.kennedy@fedex.com>; Whitt, Celyn
<Whitt@wtotrial.com>; Schaller, David <schaller@wtotrial.com>

Subject: RE: Questions re Abner, Brannon, and Alleyne cases

Following up on the below.

Thank you,
Jessica

Jessica G. Scott (she/her/hers)
Partner, Diversity & Inclusion Co-Chair
Wheeler Trigg O'Donnell LLP

From: Scott, Jessica <scott@wtotrial.com>
Sent: Tuesday, September 3, 2024 3:54 PM
To: Jeremy Abay <jabay@Ilrlaw.com>; Shannon Liss-Riordan (sliss@Ilrlaw.com) <sliss@Ilrlaw.com>

Case 2:24-cv-01129-RJC Document 24-7 Filed 12/02/24 Page 3of4

Cc: Sarah Schalman-Bergen <ssb@llrlaw.com>; Harold Lichten (hlichten@IIrlaw.com)
<hlichten@IIrlaw.com>; Matthew Carrieri <mcarrieri@I|Irlaw.com>; McHugh, Joe

<joseph.mchugh@fedex.com>; Kennedy, Shanicka <shanicka. kennedy@fedex.com>; Whitt, Celyn

<Whitt@wtotrial.com>; Schaller, David <schaller@wtotrial.com>

Subject: Questions re Abner, Brannon, and Alleyne cases

Shannon and Jeremy,

| wanted to confirm a few things based on statements Plaintiffs’ counsel have
previously made and trying to put pieces together to work from a base
understanding. Can you please confirm the following:

(1) That the intent is that each Plaintiff listed in these three cases was an opt-in
in either Claiborne (for Abner and Brannon) or Roy (Alleyne)? Meaning that we
should not expect to see “brand new” Plaintiffs we have not seen before as
opt-ins in those case?

(2) That Brannon is intended to contain former Claiborne opt-ins that were
participants in opt-in discovery in some way (even if that way was simply
Plaintiffs obtaining scanner data for them — meaning they may not have
completed a discovery questionnaire) ?

(3) That Alleyne is intended to contain former Roy opt-ins that did not
participate in discovery?

(4) That Abner is intended to contain former Claiborne opt-ins that did not
participate in discovery?

Thank you,
Jessica

Jessica G. Scott (she/her/hers)

Partner, Diversity & Inclusion Co-Chair

P 303.244.1846 | F 303.244.1879

370 17th Street, Suite 4500, Denver CO 80202-5647
scott@wtotrialcom | wtotrial com | vCard

Case 2:24-cv-01129-RJC Document 24-7 Filed 12/02/24 Page4of4
